
35 N.Y.2d 874 (1974)
The People of the State of New York, Respondent,
v.
Glenn Frank, Appellant.
Court of Appeals of the State of New York.
Argued November 13, 1974.
Decided December 18, 1974.
George Haber for appellant.
Nicholas Ferraro, District Attorney (Alan M. Snyder of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order reversed, defendant's motion to suppress evidence granted and a new trial ordered on the dissenting opinion by Mr. Justice J. IRWIN SHAPIRO at the Appellate Division.
